  Case: 4:14-cv-00459-JCH Doc. #: 18 Filed: 06/27/14 Page: 1 of 2 PageID #: 44
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION
______________________________________
                                        :
Tyeon Bethany,                          :
                                        :
                     Plaintiff,         :
        v.                              : Civil Action No.: 4:14-cv-00459-JCH
                                        :
T-Mobile USA, Inc.; and DOES 1-10,      :
inclusive,                              :
                                        :
                     Defendant.         :
______________________________________ :


                    STIPULATION OF DISMISSAL WITH PREJUDICE
                      PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

       The parties have agreed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) to dismiss this matter

with prejudice, effective today; and that each party shall bear its own costs and attorney’s fees.

Respectfully submitted,

 Tyeon Bethany                                 T-Mobile USA, Inc.

 /s/ Sergei Lemberg                            /s/ Glennon P. Fogarty (with consent)

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2014, the foregoing was filed electronically with the
Clerk of the court to be served by operation of the Court’s electronic filing system upon the
following:

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                                             By: /s/ Sergei Lemberg_________
                                                     Sergei Lemberg




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